              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL            :
FOUNDATION,                          :
                                     :
                 Plaintiff,          :
                                     :
      v.                             :               NO. 1:18-CV-00463
                                     :
ROBERT TORRES, in his official       :               CHIEF JUDGE CONNER
Capacity as Acting Secretary of the  :
Commonwealth of Pennsylvania, and    :               ELECTRONICALLY FILED
JONATHAN M. MARKS, in his official :
Capacity as the Commissioner of the  :
Bureau of Commissions, Elections and :
Legislation,                         :
                                     :
                 Defendants.         :

     __________________________________________________________

      DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO FILE
          SUR SUR REPLY TO ADDRESS NEW ARGUMENTS
          ADVANCED BY PLAINTIFF IN SUR REPLY BRIEF
     __________________________________________________________


      Pursuant to Local Rule 7.7, Defendants Acting Secretary of the

Commonwealth of Pennsylvania Robert Torres and Commissioner of the Bureau

of Commissions, Elections and Legislation Jonathan M. Marks, by and through

their undersigned counsel, seek leave to file a brief sur sur reply to address new

arguments advanced by Plaintiff The Public Interest Legal Foundation (“PILF”) in
its Sur Reply Brief (ECF No. 20) in the above-captioned matter and, in support

thereof, state as follows:


      1.        PILF commenced this action against Acting Secretary Torres and

Commissioner Marks on February 16, 2018 seeking access to an ongoing,

privileged analysis of an electronic system error relating to Motor Voter

registration.


      2.        On March 21, 2018, Acting Secretary Torres and Commissioner

Marks filed a motion to dismiss PILF’s Complaint pursuant to Rule 12(b) arguing,

inter alia, that the National Voter Registration Act (“NVRA”), 52 U.S.C. §

20507(i), does not require or permit access to the requested records. (ECF No. 10.)

They filed their supporting brief on April 4, 2018. (ECF No. 12.)


      3.        PILF filed its opposition brief on April 18, 2018. (ECF No. 14.)


      4.        Acting Secretary Torres and Commissioner Marks filed their reply

brief in further support of their motion to dismiss on May 2, 2018. (ECF No. 17.)


      5.        PILF thereafter sought leave to file a “sur reply brief” to address the

letter sent by the Department of State on April 27, 2018 to persons who may have

inadvertently registered to vote through the Motor Voter system. (ECF No. 18.)
       6.     By Order dated May 14, 2018 (ECF No. 19), the Court granted PILF’s

motion for leave to file an additional brief addressing the April 27, 2018 letter.

PILF filed its additional brief on May 14, 2018. (ECF No. 20.)


       7.     Acting Secretary Torres and Commissioner Marks hereby seek leave

pursuant to Local Ruel 7.7 to file a brief, three-page sur sur reply to address the

arguments advanced by PILF in its sur reply brief. The proposed sur sur reply

which is attached hereto as Exhibit “A” will not unduly delay the disposition of

this matter but rather will assist the Court in deciding Defendants’ Motion To

Dismiss.


       8.     PILF indicated that it concurs in this request for leave to file a sur sur

reply brief. (See PILF’s Motion for Leave To File Sur Reply (ECF No. 18) at 1-2.)
      WHEREFORE, Acting Secretary Torres and Commissioner Marks hereby

seek leave pursuant to Local Rule 7.7 to file a brief, three-page sur sur reply to

address the arguments advanced by PILF in its sur reply brief.


                                              Respectfully submitted,


                                              /s/ Daniel T. Brier
                                              Daniel T. Brier
                                              Donna A. Walsh

                                              Counsel for Defendants,
                                              Acting Secretary Robert Torres and
                                              Commissioner Jonathan M. Marks

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Dated: May 21, 2018
                     CERTIFICATE OF CONCURRENCE


      I, Daniel T. Brier, hereby certify that I sought the concurrence of counsel for

Plaintiff The Public Interest Legal Foundation (“PILF”) in this Motion. As noted

in PILF’s Motion for Leave To File Sur Reply (ECF No. 18), PILF concurs in this

Motion.


                                                    /s/ Daniel T. Brier

Date: May 21, 2018
                         CERTIFICATE OF SERVICE

      I, Daniel T. Brier, hereby certify that a true and correct copy of the foregoing

Motion for Leave to File Sur Sur Reply was served upon the following counsel of

record via the Court’s ECF system on this 21st day of May, 2018:

                          J. Christian Adams, Esquire
                          Noah H. Johnson, Esquire
                          Public Interest Legal Foundation
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                          Suite 1675
                          Indianapolis, IN 46204

                          Linda A. Kerns, Esquire
                          Law Offices of Linda A. Kerns, LLC
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                                                    /s/ Daniel T. Brier
